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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC

              Plaintiff,
                                                Civil Action File No.
v.                                              1:19-cv-05523-SDG

SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

              Defendants.


   DEFENDANT SIONIC MOBILE CORPORATION’S MOTION TO
 STRIKE AND DISREGARD PLAINTIFF BERKELEY VENTURES II,
   LLC’S REPLY MEMO IN SUPPORT OF ITS MOTION TO ADD
     PATRICK GAHAN AS A PARTY DEFENDANT OR, IN THE
        ALTERNATIVE, FOR LEAVE TO FILE SURREPLY

      Defendant Sionic Mobile Corporation (“Sionic”) respectfully moves the

Court to strike the Reply Memorandum [Doc. 145] (the “Reply Memo”) of

Plaintiff Berkeley Ventures II, LLC (“Berkeley”) in Support of its Motion to

Add Non-Party Patrick Gahan as a Party Defendant [Doc. 136 – 136-18] (the

“Initial Motion”), including the Reply Memo’s parts I, II, III, and IV and its

incorporated exhibits A through U. In the alternative, Sionic moves the Court

for leave to file a surreply.

      Amongst other reasons supporting this Motion, Berkeley has

improperly introduced for the first time on reply extensive new arguments


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and purported facts and evidence that should have been presented in

Berkeley’s principal brief and motion, which has had the effect of depriving

Sionic of its rights as a nonmovant under Fed. R. Civ. P. 27(a)(3) and Local

Rule 7.1(B). A reply is not a movant’s chance at a mulligan. And ambush is

not an acceptable litigation tactic. A Brief in Support is attached and

incorporated into this Motion by this reference.

      WHEREFORE, Sionic respectfully moves the Court to strike or

otherwise disregard and exclude Berkeley’s Reply Memo, including parts I, II,

III, and IV, together with its included exhibits A through U, or in the

alternative, grant Sionic leave to file a surreply within 14 days of the Court’s

order granting such leave.

      Respectfully submitted this July 26, 2021.

                                     /s/ Simon Jenner
                                     Simon Jenner
                                     Georgia Bar No. 142588
                                     simon.jenner@bakerjenner.com
                                     Richard J. Baker, Esq.
                                     Georgia Bar No. 033879
                                     rick.baker@bakerjenner.com
                                     Adam P. Ford, Esq.
                                     Georgia Bar No. 355079
                                     adam.ford@bakerjenner.com
                                     Baker Jenner LLLP
                                     210 Interstate N. Parkway, SE, Ste. 100
                                     Atlanta, Georgia 30339
                                     Telephone: (404) 400-5955
                                     Attorneys for Defendant

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              CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1(C), using Century Schoolbook, 13-point font. I further certify I have

electronically filed on the date stated below, the foregoing DEFENDANT

SIONIC MOBILE CORPORATION’S MOTION TO STRIKE AND

DISREGARD PLAINTIFF BERKELEY VENTURES II, LLC’S REPLY

MEMO IN SUPPORT OF ITS MOTION TO ADD PATRICK GAHAN AS

A PARTY DEFENDANT OR, IN THE ALTERNATIVE, FOR LEAVE TO

FILE SURREPLY with the Clerk of Court using the CM/ECF system which

will automatically send email notification of such filing to attorneys of record,

as follows:

                             Jason Brian Godwin
                             Godwin Law Group
                        3985 Steve Reynolds Boulevard
                                 Building D
                           Norcross, Georgia 30093

      Further served by email, although not attorneys of record:

                             David J. Hungeling
                             Adam S. Rubenfield
                          Hungeling Rubenfield Law
                         1718 Peachtree Street, N.W.
                           Peachtree 25th, Suite 599
                            Atlanta, Georgia 30309
                         E: David.hungelinglaw.com
                         E: adam@hungelinglaw.com
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                        Daniel C. Norris
                   The Ether Law Firm, LLC
                  1718 Peachtree Street, N.W.
                    Peachtree 25th, Suite 599
                     Atlanta, Georgia 30309
               E: Daniel.norris@etherlawfirm.com

This July 26, 2021.

                             /s/ Simon Jenner
                             Georgia Bar No. 142588
                             Baker Jenner LLLP
                             210 Interstate North Parkway, SE
                             Suite 100
                             Atlanta, Georgia 30339
                             Telephone: (404) 400-5955
                             E: simon.jenner@bakerjenner.com
                             Attorney for Defendant




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